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UN|TED STATES D|STR|CT COURT §§l?l}§;`€ l9 PH 1: 03
FOR THE NORTHERN D|STR|CT OF TEXAS

LUBBOCK D|VlS|ON §§§U?th€zz~; \
Bill D. Ratliff
(Plainriff)

5-17CV0296_C
Civil Case No,

V.
MARSHA MCLANE
(Executive Director)
&

GENNA MARX BRISSON

(Sr. V.P. Operations)

&

BRIAN THOl\/lAS

(Faci|ity Administrator)

&

|Vlunicipa|ity Known as the City of
Littlefield (Texas)

|. JURlSDlTlON AND VENUE
1. This is a Civil action authorized by 42 U.S.C. § 1983 to redress the
deprivation, under color of |aw, pf rights secured by the Constitution of
the United States. The Court has jurisdiction under 28 U.S.C.§ 1331
and 1343 (a) (3.) Plaintiff seeks declaratory relief pursuant to 28 U.S.C.
2283 and 2284 and Ru|e 65 of the Federal Ru|es of Civil Procedure.

2. The Northern District is an appropriate venue under 28 U.S.C. §
1391, a Judicial oistrict where Plaintiff now resides. The Texas Civil

 

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Commitment Center in Littlefield, Texas (Liberal Construction of

pleadings appropriate where raising Civil Rights issues.) Smith v. Smithl
589 F.3d 736 (fourth Cir).

3. P|aintiff Bil| Rat|iff is and was at all times mentioned herein in custody of
the State of Texas, being under Civil Commitment pursuant to Texas Health
and Safety Code, Chapter 841

4. P|aintiff presently resides at the Texas Civil Commitment Center in
Littlefield, Texas undergoing court mandated sex offender treatment for a
diagnosed condition of behavioral abnormality as defined by Texas Health and
Safety Code, Chapter 841. (See psychiatric Times "rape is a crime not a disorder')

5. P|aintiff suffers from a Legal Disabi|ity by Proximity and
Confinement. P|aintiff also suffers from a terminal illness of (H|V,
diagnosed positive since 1997.) |n addition to having a history of
mental health treatment since 1987. IV|OREOVER, lS THEREFORE
UNABLE TO VER|FY THE EXACT NAl\/lES OF ALL THE defendants
responsible for the violations outlined herein. Yet, he sues all tort-
feasors involved in both official and individual capacities, by listing that
”TCCO is Represent by Executive Director I\/|arsha l\/|cLane, CCRS-Et A| is
Represented by V.P. of Operations Manny Fernandez and CCRS OF
TEXAS, LLC is Represented by Represented TCCC Facility Administrator

Bryan Thomas. | am requesting special solicitude of the court in
instance of discovery.

ll. FACTS OF CLA||V|

6. Factors that should guide the analysis include, but are not limited
to, ”(1) whether a reasonable doctor or patient would perceive the
medical need in question as important and worthy of comment or

 

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treatment; (2) whether the medical condition significantly affects daily
activities, and (3) the existence of chronic and substantial pain.” Brock
v. Wright, 315 F.3d 158, 162 (2d Cir. 2003) (internal quotation marks
omitted).

7. Recently, the now l\/|edical Director for Correct Care Resource
Solution, the company that operates TCCC, has been canceling
medications of residents at the Littlefield facility without notification.
Residents discover their medications have been cancelled when they
submit a medication renewal form. The failure to carry out medical
orders, plaintiff was placed on (Sustiva) one month after arrival to
TCCC. P|aintiff informed medical staff of the resistance level to Sustiva.
Weeks later medical decided to check P|aintiffs blood level for the
resistance. (A secondary pill was administered to the plaintiff [Viread]
P|aintiff informed the medical staff that this medication also gave the
same results due to them being generic.) He was able to retain the
prescription for 90 days, however he was also told his case was not
unique, that many residents could expect similar treatment, and that
he should contact the medical department as soon as possible. This is a
clear case of Deliberate lndifference, which was the foundational legal
argument in Ruiz v. Estelle, the legal case that fundamentally improved
the overall treatment of prisoners in the Texas Department of Criminal
Justice. There is a lawsuit from a resident at TCCC in the system right
now stating the lack of vital medical care for more than ten residents.

8. Marsha l\/chane, TCCC and CCRS conjoined in a coordinated effort
to implement a government policy to deny the proper medical care to
the P|aintiffs that fell under ordinary standards of medical care based on
Constitutional law of the United States and Texas. Standards of
Constitutional law is well-founded court doctrine and canonical law. This
was an unlawful course of action well understood, by the conspirators as
one or more defendants are professionals dealing with inmates,

 

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detainee, or the civilly committed. ”The conspirator’s wrongful acts
caused injury to the plaintiff's physical and mental person".

9. The P|aintiff asserts the right to medical care. The Constitution
guarantees prisoners the right, even though it does not guarantee
medical care to people outside of prison. The Supreme Court explained
that this is because ”[a]n inmate must rely on prison authorities to treat
his medical needs. |f the authorities fail to do so, those needs will not
be met. ”Este/le v. Gamble, 429 U.S. 97,103 (1976). Unfortunately, the
state law does not guarantee you the same level of medical care you
might choose if you were not in prison.

10. The court described a serious medical need as ”one that has
been diagnosed by a physician as mandating treatment or one that is so
obvious that even a lay person would easily recognize the necessity for
a doctor’s attention. ”Hi// v. Del<ulb Reg’l Youth Det. Cir. 40 F.3d 1176,
1187 (11th Cir. 1994) ”Failure to treat a prisoner's condition could
result in further significant injury or the unnecessary and wanton
infliction of pain.” Estelle, 429 U. 5. at 104,' lett v. Penner, 439 F. 3.
1091, 1096 (9th Cir. 2006). in other words, ifa doctor says you need

treatment, or your need is obvious than it is probably a ”serious medical
need. ”

11. Condition may not be a serious medical need in one situation but
in another. Chronic conditions like diabetes, HlV, A|DS, hepatitis,
epilepsy and hypertension are serious medical needs, for which you
deserve medical and care.

l.e. Brock v. Wright, 315 F.3d 158(Cir. 2003) Also plaintiff asserts Estate
of Cole by Pardue v. Fromm. 94 F .3d 254 (7"’ Cir. 1996); Greguire v.
Class, 236 F .3d 413 (8”’ Cir. 2000).

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12. Upon arrival at, TCCC on 4/26/2017 medical staff and security
was aware of the plaintiff's medical condition l\/ledical failed to
respond appropriately. l\/ledical care appointments were made and
never met, due to TCCC medical staff stating, "We have all the medical

attention you need". l\/ledical prescriptions for HlV is a serious medical
need.

Scottv. Ambani, 577 F .3d 642 (6th Cir. 2009); Spruil v. Gillis, 372 F.3d
218(3d Cir. 2004), l\/leloy v. Bachmeir, 302 F .3d 845, 849 (8th Cir. 2002).

Date: 5/1/2017 Day of the Week: Monday, Time: 1:30 pm
South Plains Community Action Assc. (Project Champs)
3307 Avenue X Lubbock, TX. 79411

This I\/|edical Care Appointment was never met, due to TCCC and or
TCCO not willing to use outside agencies due to it being a medical
expense they're not willing to pay.

Brown v. District of Columba, 514 F .3d 1279 (D.C. Cir. 2008).

13. TCCC non-medical officials interfered with the treatment that the
previous doctor had ordered. Estelle, 429 U.S. at 104 -05; Lopez v.
Smith. 203 F .3d 1122 (9th Cir. 2000).

The medical staff at TCCC ignored the plaintiff's medical needs,

intentionally treated him incorrectly. lohnson v. Treen, 199 F.2d 123,
1238 (5th Cir. 1985).

14. P|aintiff was placed in a 14-man dorm, which placed him at the
risk of developing certain diseases. (Confinement in filthy dorm or living
quarters where exposed to mentally ill patients not physical injury).

Estelle v. Gamble, 429 U.S. 97, 103 (1978).
Estelle v. Gamble, 429 U. S. at 104. (1976)

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Farmer v. Breman, 511 U. 5.825 (1994).
Denn v. Coughlin, 623 F. Supp. 392, 404(S.D.N.Y. 1983).

15. TCCC was well aware of plaintiff's medical condition years before
plaintiff was actually committed. Plaintlff's first assessment was held by
Dr. Tunner on 9-8-2015. On 10-26-2016 plaintiff was committed (Civil)
and arrived at TCCC on 4-26-2017.

Farmer v. Brennan, 511 U. S. 825, 842(1995).

16. TCCC medical staff fails to respond appropriately or does not
respond at all to the serious medical needs, Scott v. Ambani, 577 F. 3d.
642 (6th Cir 2009); Spruil v. Gillis, 372 F.3d 218 (3d Cir. 2004) l\/|eloy v.
Bachmeier. 302 F.3d 845, 849 (8th Cir.2002)

17. Failure to carry out medical orders. Estelle v. Gamble, 429 U. S. at
105 (”intentionally interfering with treatment once prescribed
medication); Phillips v. .lasper County lail 437 F. 3d 791, 796 (8th Cir.
2006) `(”the knowing failure to administer prescribed medicine
constitute deliberate indifference.”); Lawson v. Dallas County, 286 F .3d
257 (5th Cir. 2002) ie. Dr. Turnner's Behavioral Abnormality Assessment
9/ 8 /2015, Gave a palatial medical history, (Below.)

l\/|edica| and psychiatric history:
|Vlr. Ratliff has been diagnosed as HlV positive since 1997. He reported
no other history of serious medical conditions aside from ulcers. He had
a hernia repair in 1997 but denied any other history of major surgery.
He reported he has been knocked unconscious twice due to physical
assault while incarcerated. Note: P|aintiff had been committed to
Easter State Hospital (Vinita State Mental Facility August 1983 to l\/|arch
1984.) The P|aintiffs medical history was only partially recorded by the

 

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time plaintiff arrived to TCCC medicines that were needed for various
reasons: Name of l\/ledicine /Reason for medicine

Abacavir HlV

Diltiazem ER

Dolutegravier HlV

Lamivudine HlV

Levetiracetan Seizures

Thera-Dorm Dry skin

Triamcirdone acetoride Dry skin/athletes feet
Zyrtec Seizures

Prozac Depression

Sulfasalazine Chronic Ulcerates/paloctitis

High Blood, Pressure, Emphysema and Tuberculosis(TB).

18. Knowledge can be demonstrated by circumstantial evidence, and
”a factfinder may conclude that TCCO, and TCCC officials knew of a
substantial risk from the very fact that the risk was obvious." Farmer.
511 U.S. at 842 See Walton v. Dawson, 752 F 3d. 1109 (8thCir. 2014)

19. TCCO, CCRS, and TCCC denied access to health care staff qualified
to address the plaintiff's health problems. Failure to carry out medical
Orders. Estelle v.
Gamble 429 U.S. at 105 (”intentionally interfering

With treatment once prescribed ”Arnet v. Webster, 658 F. 3d 742, 752
(7th Cir. 2011) (failure to provide prescribed medication)

20. Failure to provide adequate numbers of qualified mental health
staff.

Waldrop v. Evans, 871 F. 2d 1030 (11th Cir. 1989) (”a psychiatrist is
needed to supervise long term maintenance" on psychotropic
medication); Ramos v. Lamm, 639 F .2d 559, 577-78 (10th Cir. 1980);
United States v. Terrell County, Ga, 457 F. Supp. 2d 1359, 1363 (|\/l.D.

 

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Ga, 2006) (”improper delays in mental health treatment due to lack of
staf ").

Lack of training of custody staff in mental health issues. Olsen v. Lavton
Hills l\/lall, 312 F. 3d 1304, 1319-20 (10‘[h Cir. 2002)

21. (”Claims for deliberate indifference to a serious medical condition
or other serious threat to the health of safety of a person in custody
should be analyzed under the same standard irrespective of whether
they are brought under the State Law, see;_§£ig v. Eberly, 164 F. 3d
490, 495 (10th Cir. 1998)

Note: Plaintiff, at this time continues to receive inadequate
treatment and inadequate medical treatment at the Civil Commitment
Center by receiving ”counselling sessions" not ”therapy sessions" by
underqualified Licensed Professional Counselors (LPC or ATSOTPS) as
requisite for a true Civil Commitment. Furthermore, the medical staff is
just as inadequate if not more so due to lack of experience with the
terminally ill.

lll. |NJURlES

22. P|aintiff has suffered extreme duress, mental anguish, unlawful
reconviction, loss of consortium shaming and deformation of character
as result of Cruel and Unusual Punishment., stemming from the conduct
of Defendants and staff at TCCC /TCCO AND CCRS.

On 5/5/2017, the property officer l\/lrs. Leaks treated P|aintiff as a
leper. Within the 4 weeks, it took P|aintiff to receive his property. l\/lrs.
Leaks ordered an officer to be present each time P|aintiff had to question
why he was not receiving his package like everyone else. This officer was
unprofessional, rude and even stated on two different occasions that

 

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”You do not come and question me and do not come down here until |
call for youl" Signaled out because of his medical condition. This is but
one incident out of several in which prejudice and abrasive attitudes
have caused P|aintiff to stress and even need to seek medical attention
(blood pressure checks on different occasions). Throughout the next two
to three months 8/27/2017 these encounters were more than stressful
for the Plaintiff.

Note: Both officers S.O. l\/lr. Tijorina & S.O. Casiellano are not only
witnesses to Property Officer Leaks, but both will testify that the Leaks
behavior was inappropriate

23. Each client has been harmed by the treatment program's structural
problems, resulting in delays in progression. By failing to provide the
necessary process, Defendants have failed to maintain the program in
such a way as to ensure that all clients are not unconstitutionally
deprived of their right to |iberty. This right also applies to treatment in
the I\/ledical Department as well. Since all clients are in the full custody
of the State, specifically Texas Civil Commitment Office, Texas Civil
Commitment Center AKA: Bi|l C|ayton Detention Center, as well as
Correct Care Recovery Solutions.

|V. CONCLUS|ON
Elements of an adequate health care system.

The State Law and constitution requires the prison officials provide
a system of ready access to adequate medical care. Prison officials show
deliberate indifference to serious medical needs if prisoner are unable to
make their medical problems known to the medical staff. Access to the
medical staff has no meaning ifthe medical staff is not competent to deal
with the prisoners' problems. The medical staff must be competent to

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examine prisoners and diagnose illnesses. lt must be able to treat
medical problems or to refer prisoners to others who can. Such referrals
may be to other physicians within the prison, or to physicians of facilities
outside the prison if there is reasonably speedy access to these other
physicians or facilities. ln keeping with those requirements, the prison
must provide an adequate system for responding to emergencies. |f
outside facilities are too remote or too inaccessible to handle
emergencies promptly and adequately, then the prison must provide
adequate facilities and staff to handle emergencies within the prison.
Those requirements apply to physical, dental and mental health.

Note of l\/ledical History: Since residence arrived at TCCC
(open to Civil Commitment September 1 2015) there has been 5 deaths
dealing with sever medical issues. Davila who was receiving dialysis
before being confined to TCCC, he was unable to be treated in time
because of TCCO's delay and inadequate medical staff. (Deceased 2016)
Resident Shoemaker delayed cancer treatment (deceased 2016)
Resident Russel (deceased 2017) Resident Amaguer (deceased 2017),
Resident Scott another delay in chemotherapy (deceased Oct. 2017)

The rights of our justice system developed to safeguard men from
dubious and unjust judgment, with resulting forfeitures of life, liberty
and property. Davis v. United States, supra, at 488. 40 L. Ed at 506, states
that the requirement is implicit in constitutions pertaining to Civil Law
remain firmly established which recognognizes the fundamental
principles that are deemed essential for the protection of life and liberty.
Due process requires strict adherence to compulsory process, as no State
shall make nor enforce laws that are repugnant nor in contravention of
the federal constitution. Defendant's actions were designed to oppress,
punish, and to retaliate all conduct was without legal or medical
authority and abused the plaintiff. Full well knowing the without the
proper medical treatment, client's health could possibly deteriorate to a

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life threating condition. Both terminal illnesses have to be treated with
sensitive care.

V. Damages

24. Despite Plaintiff's ongoing health issues, duress, high blood pressure
readings, severe headaches, inadequate diet. The thought of not only
being able to have the same or if not better treatment than TDCJ is in
itself a serious issue. Because HlV does not allow a person to stress and
worry without causing some type of illness that could be life-threatening.
The fear of dyeing while confined here at TCCC may not be an issue for a
healthy person but as we know high blood pressure in itself is a killer for
most people even if treated properly. Due to the noted lack of
knowledge or possible inexperienced dietician, the Plaintiff has lost
weight approximately 24 to 28 lbs. There is no excuse for TCCC not have
the proper medical staff but there is an outside agency that does
specializes in treatment for person with HlV yet TCCC and TCCC does not
consider the heath of the plaintiff, only how much it may cost and if it
can be fit into the budget. lf plaintiff's mental anguish and physical
wellbeing is not a priority, then the solution could be as simple as putting
a Band-Aid on a scratch. However, plaintiff's medical issues are life
threating.

25. Social Security Administration Supplemental Security lncome: On
August 24, 2017, the informal decision was made that the P|aintiff was
not eligible for SS|.

26. P|aintiff suffers egregiously under undue influence of the State as
a great miscarriage of justice continues along destroying his life,
resulting from "GROSSLY EXCESS|VE" civil penalties that are, in fact
"shocking to the conscience,"

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27. P|aintiff avers that Cruel and Unusual Punishment has resulted from
the State's denial of Due Process, in violation of the United States
Constitutional Laws. Because of such violation, P|aintiff has been and
continues to be unlawfully confined without justification. With his
current illnesses, the defendants chose to make a profit instead of
supplying the proper treatment or placement of the terminally ill.

Social Security: At this time as been denied, the reasons for not being
eligib|e: *RES|DENT OF A PUBL|C |NST|TUT|ON

PRAYER

Plaintiff assert, prays that this petition is reviewed in the best
possible light. Based on the matters asserted, and not the form it was
written in. "plaintiff asserts, prays that all relief asked for and entitled, to
be here grated." To receive damages (monetary) compensation for the
irreparable harm done to Plaintiff's life based on cruel and unusual
punishment via confinement and deliberate indifference Consortium.
Perpetual lntentional infliction of Emotional Distress, Compensatory
damages, l\/|ental Anguish. To compensate Petitioned individuality for
the egregious ongoing constitutional and Rights violations outlined in the
petitioners’ order.

WHEREFORE, Plaintiff Bill Ratliff respectfully requests monetary
compensation (both punitive and compensatory and otherwise) based
on judgment against the defendants for the sum of $2,500,000 two. Five

million dollars.

DECLARAT|ON

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l Bill Ratliff, have read the foregoing complaint and hereby verify
the matters alleged herein are true to the best of my knowledge and
belief. l declare under the penalty of perjury that the foregoing is true
and correct. Executed on this the _/__7_day of /f/c;~¢<»wéer 2017 in
Littlefield, Texas.

PRO SE

Bill D. Ratliff
#04687757

2600 S. Sunset Ave.
Littlefield Texas 79339

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UN|TED STATES D|STR|CT COURT
FOR THE NORTHERN D|STR|CT OF TEXAS
LUBBOCK DlVlSlON

 

 

 

 

PET|T|ONER
BlLL D. RATL|FF
PRO SE
TEXAS ClVlL COl\/ll\/llTl\/lENT CENTER
2600 SOUTH SUNSET AVE.
LlTTLEFlELD, TEXAS 79339

UN|TED STATES D|STR|CT COURT
FOR THE NORTTHERN D|STR|CT OF TEXAS
LUBBOCK D|VlSlON

   

 

 

 

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